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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,
                                                      Case No. 1:95-cr-70-02
v.
                                                      HONORABLE PAUL L. MALONEY
JEREMY JOSEPH SINGLETON

                  Defendant.
_______________________________/


                         MEMORANDUM OPINION AND ORDER

       Defendant Jeremy Joseph Singleton has filed a motion for modification or reduction of

sentence pursuant to 18 U.S.C. §3582(c)(2) based on the modification of the Drug Quantity

Table with respect to cocaine base (crack cocaine).

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant

who has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 750 of the United States

Sentencing Guidelines modified U.S.S.G. § 2D1.1, the Drug Quantity Table with regard to

cocaine base (crack cocaine), and U.S.S.G. § 2D2.1(b). These modifications were made

retroactive effective November 1, 2011. U.S.S.G. § 1B1.10(c).

       Defendant is currently serving a term of imprisonment based on his offense which

included distributing of 13.6 kilograms of cocaine base. Defendant, by letter, states he was held

responsible for 12.5 kilograms. Even if true, Amendment 750 is of no assistance to the

defendant as the base offense level remains 38 for offenses involving 8.4 kilograms or more of
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cocaine base (crack cocaine). Under these facts, the Court is not authorized to reduce his term of

imprisonment based upon the modifications to the sentencing guidelines. See United States v.

Watkins, 625 F.3d 277, 281-82 (6th Cir. 2010). Accordingly,

       IT IS HEREBY ORDERED that Defendant Jeremy Joseph Singleton’s motion for

modification of sentence pursuant to 18 U.S.C. § 3582(c)(2) (ECF No. 350) is DENIED.

       IT IS FURTHER ORDERED that defendant’s request for court appointed counsel is

also DENIED,



Date: December 16, 2011                       /s/ Paul L. Maloney
                                             Paul L. Maloney
                                             Chief United States District Judge
